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                                          2
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                                              Attorneys for Defendants
                                          4
                                          5
                                          6                                            UNITED STATES DISTRICT COURT
                                          7                                                  DISTRICT OF ARIZONA
                                          8   Paul Johnson Drywall, Inc.; Johnson 2013                    No.
                                              Irrevocable Trust, dated December 28, 2013;
201 East Washington Street, Suite 1200




                                          9   and RCJ Irrevocable Trust, dated April 29,                  NOTICE OF REMOVAL
                                              2010,
                                         10
Phoenix, Arizona 85004-2595




                                                                                        Plaintiffs,
                                         11
                                              v.
                                         12
                                              The Sterling Group,
                                         13
                                                                                       Defendant.
                                         14
                                         15               Pursuant to 28 U.S.C. §§ 1332 and 1441, Defendant The Sterling Group, L.P.
                                         16   (“Sterling”) hereby removes this cause from Maricopa County Superior Court to the United
                                         17   States District Court for the District of Arizona, on the ground that this Court has diversity
                                         18   jurisdiction over this matter.

                                         19               1.          On July 13, 2021, Plaintiffs Paul Johnson Drywall, Inc. (“PJD”), Johnson

                                         20   2013 Irrevocable Trust, dated December 28, 2013, and RCJ Irrevocably Trust, dated April

                                         21   29, 2010 (collectively the “Johnson Trusts”) filed suit against Sterling in the Superior

                                         22   Court of Maricopa County, Arizona, resulting in Case No. CV2021-011077. Plaintiffs’

                                         23   Original Complaint did not name Sterling, but rather referred to it as an anonymous

                                         24   “Defendant Limited Partnership.” Exhibit 10.

                                         25               2.          Plaintiffs filed their First Amended Complaint under seal on July 20, 2021

                                         26   and identified Sterling as the named Defendant. Exhibit 4 (“Pls. Compl.”). 1

                                         27   1 The Superior
                                              115225015.1   Court allowed the First Amended Complaint to be filed under seal. See
                                              Exhibit 15. Accordingly, Sterling is filing Exhibit 4 under seal and has filed a motion to
                                         28   seal.
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                                          1            3.     Plaintiffs effected service of the First Amended Complaint on Sterling July
                                          2   23, 2021. Exhibit 6. 2
                                          3            4.     For the reasons below, this Court has jurisdiction over this matter pursuant to
                                          4   28 U.S.C. § 1332(a), and removal is proper under 28 U.S.C. §§ 1441 and 1446.
                                          5   I.       THE COURT HAS DIVERSITY JURISDICTION OVER THIS MATTER
                                          6            A.     There is complete diversity among the parties.
                                          7            5.     Sterling is a limited partnership and accordingly takes the citizenship of each
                                          8   of its partners. See Carden v. Arkoma Assocs., 494 U.S. 185, 189 (1990).
201 East Washington Street, Suite 1200




                                          9            6.     Each of Sterling’s partners is a citizen of the State of Texas.
                                         10            7.     Paul Johnson Drywall, Inc. is a corporation organized under Arizona law and
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                                         11   headquartered in Maricopa County, Arizona, Pls. Compl. ¶ 1, and it is therefore a citizen of
                                         12   Arizona. 42 U.S.C. § 1332(c)(1).
                                         13            8.     The Johnson Trusts assert that they are irrevocable trusts organized under
                                         14   Arizona law. Pls. Compl. ¶ 2.
                                         15            9.     Because Plaintiffs, citizens of Arizona, have brought suit against Sterling, a
                                         16   citizen of Texas, complete diversity exists. 28 U.S.C. § 1332(a)(1).
                                         17            B.     The amount in controversy exceeds $75,000.
                                         18            10.    The amount in controversy in this matter exceeds the Court’s minimum
                                         19   jurisdictional amount of $75,000, exclusive of interest and costs. 28 U.S.C. § 1332(a).
                                         20            11.    In cases removed on the basis of diversity jurisdiction, the amount a plaintiff
                                         21   demands in good faith in its initial pleading “shall be deemed to be the amount in
                                         22   controversy.” 28 U.S.C. § 1446(c)(2).
                                         23            12.    Plaintiffs pleaded in their original complaint that “[t]he matter in controversy
                                         24   exceeds $300,000.” Pls. Compl. ¶ 4. This satisfies the amount- in-controversy requirement.
                                         25   II.      REMOVAL IS PROCEDURALLY PROPER
                                         26            13.    This removal is timely pursuant to 28 U.S.C. § 1446(b) because Sterling filed
                                         27   notice   within 30 days of July 23rd, 2021, the date of service of the First Amended
                                              115225015.1

                                         28   2   Plaintiffs amended their Complaint before serving Sterling with process.
                                                                                             2
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                                          1   Complaint.
                                          2            14.    Pursuant to 28 U.S.C. § 1446(d), Sterling is filing written notice of this
                                          3   removal with the clerk of the state court in which the action is currently pending. Copies of
                                          4   this notice will be served upon Plaintiffs as also required by 28 U.S.C. § 1446(d).
                                          5            15.    Sterling files with this Court copies of all pleadings and other documents that
                                          6   were filed with the state court. Pursuant to Local Rule LRCiv 3.6, attached to this Notice of
                                          7   Removal are the Supplemental Civil Cover Sheet, most recent state court docket, Plaintiffs’
                                          8   First Amended Complaint, service documents and the remainder of the state court record.
201 East Washington Street, Suite 1200




                                          9   See Exhibits 1-15. Attached as Exhibit A is the Declaration of Robert H. McKirgan,
                                         10   verifying that true and complete copies of all pleadings and other documents filed in the
Phoenix, Arizona 85004-2595




                                         11   state court proceeding have been filed.
                                         12
                                         13            DATED this 13th day of August, 2021.
                                         14
                                                                                         LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                         15
                                                                                         By: /s/ Robert H. McKirgan
                                         16                                                  Robert H. McKirgan
                                                                                         Attorneys for Defendant
                                         17
                                         18                                   CERTIFICATE OF SERVICE
                                         19            I hereby certify that on August 13, 2021, I served a true and correct copy of this Notice

                                         20    of Removal and accompanying attachments to Plaintiffs’ counsel via email, and on August

                                         21    16, copies will be sent via certified mail, return receipt requested, at the following address:

                                         22                             R. Douglas Dalton
                                                                        William D. Furnish
                                         23                             Bryce Talbot
                                                                        Osborn Maledon, P.A.
                                         24                             2929 North Central Avenue, 21st Floor
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                                         27   115225015.1
                                                                                        /s/ Kathleen A. Topczewski
                                         28                                             Employee of Lewis Roca Rothgerber Christie LLP
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